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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

SCHNUCK MARKETS, INC.,                          :
                                                :
               Plaintiff,                       :
                                                :          Case No. 4:13-CV-2226-JAR
        v.                                      :
                                                :          The Honorable John A. Ross
FIRST DATA MERCHANT DATA                        :
SERVICES CORP., and                             :
CITICORP PAYMENT SERVICES, INC.,                :
                                                :
               Defendants.                      :

           SUR-REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’
        MOTION FOR JUDGMENT ON THE PLEADINGS AND OPPOSITION
      TO PLAINTIFF’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS

        Defendants/Counterclaim-Plaintiffs First Data Merchant Services Corp. (“First Data”)

and Citicorp Payment Services, Inc. (“Citicorp”) (collectively, the “Defendants”) submit this

Sur-Reply Memorandum in accordance with Local Rule 7-4.01(C) to address

Plaintiff/Counterclaim-Defendant Schnuck Markets, Inc.’s (“Schnucks” or “Plaintiff”) improper

reliance on regulations created after the execution of the parties’ contract. As set forth more

fully below, this Court should disregard Plaintiff’s arguments relying on the current Visa Global

Compromised Account Recovery (“GCAR”) operating program. The Court should also reject

the Plaintiff’s out of context reliance on certain provisions of GCAR and the corresponding

MasterCard Account Data Compromise Recovery (“ADCR”) operating program.1




1
        The Visa GCAR and MasterCard ADCR programs contain a process used to determine
an acquiring bank’s financial responsibility arising out of a merchant’s data compromise event.
As detailed below, the acquiring bank’s financial responsibility here is assessed through fines or
penalties that fall within the exception to the limitation of liability under Section 5.4 of the MSA.
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I.       INTRODUCTION

         Plaintiff’s Cross-Motion for Judgment on the Pleadings relies on the current version of

Visa’s International Operating Regulations (“VIOR”) (including Visa’s current GCAR program)

and MasterCard’s ADCR to interpret the exception to the limitation of liability found in Section

5.4 of the MSA. See Plaintiff’s Brief, Doc. # 44, at 9-10, 15-18; Plaintiff’s Reply Brief, Doc.

# 52, at 6-7. The Court should disregard Plaintiff’s improper reliance for two glaring reasons:

First, neither the current VIOR nor Visa’s current GCAR operating program existed when the

parties negotiated and executed the MSA. Accordingly, the current program cannot legitimately

be used to interpret the parties’ intent when they drafted Section 5.4 of the MSA. Second,

Plaintiff improperly relies on the language from the GCAR and ADCR programs in a self-

serving and out of context manner, rendering that reliance meaningless.

II.      ARGUMENT

         A.     Plaintiff improperly relies upon the Visa GCAR
                program to argue the parties’ “intent” in drafting
                the MSA because it did not exist at the time of contract formation.

         The cardinal principal of contract interpretation under Missouri law is to ascertain and

give effect to the intention of the parties at the time of contract formation. Butler v. Mitchell–

Hugeback, Inc., 895 S.W.2d 15, 21 (Mo. banc 1995). Here, the intent of the parties must be

measured at the time of contract formation; namely, October 6, 2011 – the effective date of the

contract. See Complaint, Doc. # 9, at ¶ 16.

         Defendants recently ascertained that Plaintiff’s Cross-Motion for Judgment on the

Pleadings relies on parsed language from the Visa operating regulations and program procedures

that were not in effect when the parties signed the MSA. Specifically, Plaintiff repeatedly relies

on the VIOR (dated October 15, 2012) and GCAR operating program. See Plaintiff’s Brief, Doc.

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# 44, at 9, n. 6 (October 15, 2012 effective date for VIOR). Given the effective date for the

VIOR that Plaintiff relies upon, that reliance is flawed.2

        Plaintiff’s arguments are largely premised on Defendants’ supposed failure to consider

the language of the GCAR program when the parties drafted the exception to the limitation of

liability contained in Section 5.4 of the MSA. See e.g., Plaintiff’s Brief, Doc. # 44, at 18

(arguing that “[Defendants] could have inserted assessments according to the GCAR. . .

regulations” in to the written exception). Simply stated, it would have been impossible for

Defendants to have deployed language from the GCAR program into the MSA because it did not

exist at the time the contract was drafted. See Principal Mutual Life Ins. Co. v. Karney, 5

F.Supp.2d 720, 729 (E.D. Mo. 1998) (stating that the focus for intent must be on “the

circumstances surrounding the formulation and execution of the contract”). Accordingly, the

Court should disregard Plaintiff’s reliance on the current day program because that could not

have framed the parties’ intent when they drafted the contract. See Butler, 895 S.W.2d at 21

(discussing the important role of the parties’ intent to contract interpretation under Missouri law).

        The effect, if any, of Visa’s regulations and operating program on the parties’ contractual

intent can only be ascertained by viewing them as of October 6, 2011. The then non-existent

GCAR provision that Plaintiff now relies upon replaced Visa’s ADCR program in October 2012.

Exhibit 1 (Visa April 2011 Operating Regulations). Importantly, the applicable 2011 Visa

ADCR program was subject to a preamble reference to the terms “fines” and “penalties” that

Visa used to characterize Visa’s authority to impose all assessments (such as financial




2
       Plaintiff’s reliance on the Visa GCAR program is also glaring because, at the time of
contract formation, the Visa program was known as ADCR.
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responsibility for a data breach) on an acquiring bank based on its merchant’s conduct. The

preamble provides:

        Operating Regulations Compliance and Enforcement
        Fines and Penalties – General
        Visa Right to Fine

        The Visa International Operating Regulations contain enforcement mechanisms
        that Visa may use for violations of the Visa International Operating Regulations.
        The Operating Regulations also specify the procedure for the allegation and
        investigation of violations and the rules and schedules for fines and penalties.

        Visa may levy fines and penalties as specified in the Visa International Operating
        Regulations. Visa officers will enforce these fines and penalties.

        These procedures and fines are in addition to enforcement rights available to Visa
        under other provisions of the Visa International Operating Regulations, the
        applicable Certificate of Incorporation and Bylaws, or through other legal or
        administrative procedures.

Id. at 59 (underlined emphasis added).3 Visa’s use of the terms “fines and penalties” as a

preamble to the ADCR program illuminates the intent behind the parties’ use of “fees, fines or

penalties” assessed by Visa and MasterCard (collectively, the “Associations”) as an exclusion

from the Section 5.4 limitation on liability. See Exhibit A to Defendants’ Motion, Doc. # 37,

MSA at § 5.4. In other words, the parties intended that any and all assessments by the

Associations in enforcing their rules and regulations, as the Associations themselves described

them as “fines and penalties”, are Schnucks’ responsibility without limitation.




3
       The distinction between the 2011 Visa ADCR and 2012 GCAR program is also apparent
from the structural change in the VIOR from 2011 to 2012. In the 2011 VIOR, the ADCR
program fell under the general “Counterfeit Losses” provisions. See Exhibit 1 at 758-59. In
October 2012, the new GCAR operating program fell under its own data breach heading.
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        B.     Plaintiff’s out of context reliance on the GCAR and
               ADCR operating programs renders that reliance meaningless.

        The Court should also disregard Plaintiff’s reliance on language in the respective Visa

GCAR and MasterCard ADCR operating programs in general because Plaintiff cherry-picked

provisions for a self-serving purpose in violation of Missouri’s principals concerning contract

interpretation. Tuttle v. Muenks, 21 S.W.3d 6, 11 (Mo. App. W.D. 2000) (under Missouri law,

contracts must read as a whole and interpreted in context); see Plaintiff’s Brief, Doc. # 44, at 9,

n. 6 and n. 7 (purporting to provide the “relevant portions” of the VIOR and MasterCard Security

Rules and Procedures and ADCR). When read in proper context, the Visa ADCR (or current

GCAR) and/or MasterCard’s ADCR are only operating programs and procedures that the

Associations use to calculate the fines and penalties levied against an acquiring bank as a result

of its’ merchant’s violations of the various security rules. They are not characterizations of the

nature of the financial responsibility itself, as Plaintiff suggests in its Cross-Motion. See e.g.

Plaintiff’s Reply Brief, Doc. # 52, at 6-7.4




4
        Plaintiff’s Reply Brief misinterprets the decision in Genesco, Inc. v. Visa U.S.A., Inc.,
2013 WL 3790647 (M.D. Tenn. July 18, 2013) as standing for the proposition that the fines at
issue here are not “fees, fines or penalties”, because Visa itself considers its assessments against
acquiring banks following data compromise events to be “valid liquidated damages and not an
unenforceable penalty.” Doc. # 52 at 4, n. 3. This is simply not the case because that court
actually repeatedly refers to those assessments as “fines.” See e.g., Genesco, 2013 WL 3790647
at *1 (discussing “Visa’s fines and assessments against the [acquiring] banks”). The issue of
liquidated damages in Genesco only arose in the limited context of California law, which
requires that the fines be an accurate valuation of the “liquidated damages” suffered by the credit
card Associations – not merely an arbitrary penalty. Id. at *10 (stating that the characterization
of Visa’s assessments as liquidated damages “is predicated upon the allegations that the amounts
do not represent the actual damages Visa incurred by reason of the Acquiring Banks’ alleged
failures to cause Genesco’s alleged noncompliance with PCI DSS requirements”). California
law is not at issue here, making Plaintiff’s citation to Genesco misplaced.
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       By reading the GCAR and ADCR provisions out of context, Plaintiff improperly places

the onus on Defendants to have included that specific language into the Section 5.4 exception to

the limitation of liability. See Plaintiff’s Reply Brief, Doc. # 52, at 6-7. When, however, the

GCAR and ADCR are read in context, it is apparent that these provisions merely detail the

processes and procedures that the Associations use to assess financial responsibility (i.e. fines

and penalties) for a data breach. See generally Exhibit 1 (establishing the framework for Visa’s

right to enforce assessments related to a data breach). A process and procedure simply cannot

define the nature of the financial responsibility that the Associations impose as a result of a data

compromise event. As such, the Court should disregard Plaintiff’s slanted reading of the

operating programs, deny the Cross-Motion, and grant Defendants’ Motion for Judgment on the

Pleadings.

III.   CONCLUSION

       Based upon the forgoing, this Court should: disregard Plaintiff’s arguments concerning

the Visa GCAR and MasterCard ADCR operating regulation programs; grant Defendants’

Motion for Judgment on the Pleadings; and deny Plaintiff’s Cross-Motion.




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                                              Respectfully Submitted,

                                              FOX ROTHSCHILD LLP

Dated: July 18, 2014                          By:       /s/ Joshua Horn
                                              Joshua Horn (admitted pro hac vice)
                                              Amy C. Purcell (admitted pro hac vice)
                                              FOX ROTHSCHILD LLP
                                              2000 Market Street, 10th Floor
                                              Philadelphia, PA 19103
                                              215-299-2000
                                              Fax: 215-299-2150
                                              Email: jhorn@foxrothschild.com
                                              Email: apurcell@foxrothschild.com

                                              ATTORNEYS FOR DEFENDANTS AND
                                              COUNTERCLAIM PLAINTIFFS FIRST DATA
                                              MERCHANT SERVICES CORP. AND CITICORP
                                              PAYMENT SERVICES, INC.
Lucy T. Unger, #36848
Patrick I. Chavez, #47732MO
Bank of America Tower
100 North Broadway, 21st Floor
St. Louis, Missouri 63102
314/345-5000
314/345-5055 (FAX)
lunger@wvslaw.com
pchavez@wvslaw.com

Nicholas T. Solosky (admitted pro hac vice)
FOX ROTHSCHILD LLP
1030 15th Street, N.W.
Suite 380 East
Washington, DC 20005
202-461-3100
Fax: 202-461-3102
Email: nsolosky@foxrothschild.com




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